Exhibit D
09
 /12
   /2019      Page3117   AgencytoAgencyReque
                                           t:19
                                              -411

           CONF
              IDENT
                  IAL
                                    SDNY_GM_00331516
09
 /12
   /2019      Page3118   AgencytoAgencyReque
                                           t:19
                                              -411

           CONF
              IDENT
                  IAL
                                    SDNY_GM_00331517
09
 /12
   /2019      Page3119   AgencytoAgencyReque
                                           t:19
                                              -411

           CONF
              IDENT
                  IAL
                                    SDNY_GM_00331518
09
 /12
   /2019      Page3120   AgencytoAgencyReque
                                           t:19
                                              -411

           CONF
              IDENT
                  IAL
                                    SDNY_GM_00331519
